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   Attorneys for Plaintiffs
18                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
19                                 SAN FRANCISCO DIVISION
20
   CHRISTOPHER KARWOWSKI, MELODY                     CASE NO. 3:22-cv-08981-RFL
21 KLEIN, MICHAEL MCBRIDE, and AIMEN
   HALIM, individually and on behalf of all others   NOTICE OF FILING OF UNREDACTED
22 similarly situated;                               VERSIONS OF PLAINTIFFS’
                  Plaintiffs,                        OPPOSITION TO DEFENDANT GEN
23                                                   DIGITAL’S MOTION FOR ATTORNEYS’
           v.                                        FEES AND DECLARATION OF ATIF
24
                                                     HASHMI IN SUPPORT THEREOF
25 GEN DIGITAL INC., et al.,
                                                     Judge: Hon. Rita F. Lin
26                Defendants.                        Magistrate Judge: Hon. Sallie Kim
27
28
                                                                Case No. 3:22-cv-08981-RFK-SK
                NOTICE OF FILING UNREDACTED VERSIONS OF PLAINTIFFS’ OPPOSITION
                              AND DECLARATION IN SUPPORT THEREOF
      Case 3:22-cv-08981-RFL        Document 158       Filed 02/10/25     Page 2 of 4




 1          Plaintiffs Christopher Karwowski, Melody Klein, Michael McBride, and Aimen Halim
 2 (collectively, “Plaintiffs”), through undersigned counsel, hereby file an unredacted version of
 3
     Plaintiffs’ Opposition to Defendant Gen Digital’s Motion for Attorneys’ Fees (the “Unredacted
 4
     Opposition”), attached as Exhibit A, and an unredacted version of the Declaration of Atif Hashmi
 5
     in Support of Plaintiffs’ Opposition to Defendant Gen Digital’s Motion for Attorneys’ Fees (the
 6
 7 “Unredacted Declaration”), attached as Exhibit B, in compliance with the Court’s February 3, 2025
 8 minute entry (ECF No. 157).
 9
10

11                                           Respectfully submitted,
12 DATED: February 10, 2025                  Ekwan E. Rhow
13                                           Marc E. Masters
                                             BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
14                                           DROOKS, LINCENBERG & RHOW, P.C.

15
16
                                             By:          /s/ Ekwan E. Rhow
17                                                               Ekwan E. Rhow
                                                   Attorneys for Plaintiffs
18
     DATED: February 10, 2025                Jonathan M. Rotter
19                                           David J. Stone
                                             GLANCY PRONGAY & MURRAY LLP
20
21
22                                           By:          /s/ Jonathan M. Rotter
                                                                 Jonathan M. Rotter
23                                                 Attorneys for Plaintiffs

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28                                                                 Case No. 3:22-cv-08981-RFL-SK
                                                2
                  NOTICE OF FILING UNREDACTED VERSIONS OF PLAINTIFFS’ OPPOSITION
                                AND DECLARATION IN SUPPORT THEREOF
     Case 3:22-cv-08981-RFL    Document 158      Filed 02/10/25    Page 3 of 4




 1 DATED: February 10, 2025            Korey A. Nelson
                                       Amanda K. Klevorn
 2                                     Claire Bosarge Curwick
                                       Logan B. Fontenot
 3
                                       BURNS CHAREST LLP
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                                       By:          /s/ Korey A. Nelson
 6                                                         Korey A. Nelson
 7                                           Attorneys for Plaintiffs

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              NOTICE OF FILING UNREDACTED VERSIONS OF PLAINTIFFS’ OPPOSITION
                            AND DECLARATION IN SUPPORT THEREOF
     Case 3:22-cv-08981-RFL           Document 158        Filed 02/10/25      Page 4 of 4




 1                       PROOF OF SERVICE BY ELECTRONIC POSTING
 2          I, the undersigned say:
 3          I am not a party to the above case and am over eighteen years old. On February 10, 2025, I
 4 served true and correct copies of the foregoing document, by posting the document electronically to
 5 the ECF website of the United States District Court for the Northern District of California, for receipt
 6 electronically by the parties listed on the Court’s Service List.
 7          I affirm under penalty of perjury under the laws of the United States of America that the
 8 foregoing is true and correct. Executed on February 10, 2025.
 9                                                                     /s/ Korey A. Nelson
                                                                       Korey A. Nelson
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28                                                                 Case No. 3:22-cv-08981-RFL-SK
                                                4
                  NOTICE OF FILING UNREDACTED VERSIONS OF PLAINTIFFS’ OPPOSITION
                                AND DECLARATION IN SUPPORT THEREOF
